                Case: 1:10-cv-08227 Document #: 10 Filed: 02/08/11 Page 1 of 1 PageID #:27
AO 450 (Rev. 01/09) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Northern District of Illinois


Daniel Dinsmore et al                                               )
                             Plaintiff                              )
                                v.                                  )       Civil Action No.     10 C 8227
Allied Interstate, Inc.                                             )
                            Defendant                               )

                                                 JUDGMENT IN A CIVIL ACTION


The court has ordered that (check one):

 the plaintiff (name)                                                                                     recover from the
defendant (name)                                                                                              the amount of
                                                                          dollars ($             ), which includes prejudgment
interest at the rate of                  %, plus postjudgment interest at the rate of           %, along with costs.
 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .
O other: This cause is hereby dismissed with prejudice.
          .
This action was (check one):

 tried by a jury with Judge                                                                      presiding, and the jury has
rendered a verdict.
 tried by Judge                                                                        without a jury and the above decision
was reached.
 decided by Judge                                                                           on a motion for

                                                                                                                                 .


Date:          08 Feb 2011                                                 Michael W. Dobbins, Clerk of Court


                                                                           /s/ Stephen C. Tokoph
                                                                                               Deputy Clerk
